 Case 3:19-mj-00033-RWT Document 1-1 Filed 02/28/19 Page 1 of 1 PageID #: 2



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


UNITED STATES OF AMERICA,

              PLAINTIFF,

v.                                                    CASE NO.       3c E3
CHRISTOPHER LEE YATES

              DEFENDANT.

                                           AFFIDAVIT

       1. On or about February 25, 2019, Christopher YATES unlawfully stole firearm parts,
          which belonged to the Bureau of Alcohol, Tobacco, Firearm and Explosives (ATF),
          an agency of the United States Government.

       2. Investigation and intelligence reveals that YATES traveled from West Virginia to
          Maryland to sell the ATF firearm parts for financial gain. YATES willfully and
          knowingly did steal firearm slides and firearm parts of a value exceeding $1,000.


       3. On 02/27/19, YATES made admissions to ATF Agents in an interview that he
          knowingly was in possession of stolen government property and transferred it to an
          individual in Maryland on February 25, 2019. YATES further stated that he did not
          request authorization from anyone at ATF to remove the firearm slides and parts from
          the ATF facility nor did he have permission to resale them.




                                                     Special Agent Seth Cox
                                              Bureau of Alcohol, Tobacco, Firearms & Explosives



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 Sworn to and subscribed to me this        day of February, 2   9.



                                                      ROBERT V. TRUMBtE
                                                      UNITED STATES MAGISTRATE JUDGE
